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VIA CM/ECF

July 7, 2021

The Honorable Patrick J. Schiltz
United States District Court
300 South Fourth Street
Minneapolis, MN 55415
schiltz_chambers@mnd.uscourts.gov

          RE:        Lindell v. US Dominion, Inc., et al., Case No. 0:21-cv-01332-PJS-DTS

Judge Schiltz:

We represent Dominion Voting Systems Corporation, Dominion Voting Systems, Inc., and US
Dominion, Inc. (“Dominion”), which are defendants in both this case and a related case, My
Pillow, Inc. v. US Dominion, Inc., 21‐CV‐1015-PJS-DTS (D. Minn. 2021) (the “My Pillow suit”).

The Court issued an order in the My Pillow suit yesterday (Doc. 49) staying that action pending a
decision on Mike Lindell’s and My Pillow’s pending motions in the related D.C. action, US
Dominion, Inc. v. Lindell, et al., 1:21-cv-00445 (D.D.C. 2021). In so doing, the Court noted that
having the parties brief Dominion’s anticipated motions before the pending motions in the D.C.
action are decided would inevitably lead to a request for “supplemental briefs in this action to
address the impact of the ruling in the D.C. action, adding expense and delay for the parties, and
adding to the burden on this Court.” Dominion plans to move to transfer or dismiss this case for
many of the same reasons it will move to dismiss or transfer the My Pillow suit. Because the
issues in this case—which was brought by My Pillow’s inventor, founder, CEO, and spokesperson,
Michael J. Lindell—and the My Pillow case are substantially similar, we respectfully request that
the Court stay this case as well. 1




1 As in the My Pillow suit, Dominion expressly preserves all its defenses—including personal
jurisdiction—and will assert those defenses as part of its motion to dismiss.
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                                           Very truly yours,




                                           John W. Ursu


c:   All Counsel of Record
